     Case: 1:21-cr-00698 Document #: 34 Filed: 09/02/22 Page 1 of 1 PageID #:102

                      UNITED STATES DISTRICT COURT
             FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                                 Eastern Division

UNITED STATES OF AMERICA
                                         Plaintiff,
v.                                                       Case No.: 1:21−cr−00698
                                                         Honorable Robert W. Gettleman
Ronald T. Molo
                                         Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, September 2, 2022:


         MINUTE entry before the Honorable Robert W. Gettleman as to Ronald T. Molo:
Telephonic change of plea hearing set for 10/3/2022 at 11:15 a.m. will now be held on the
Webex platform. Members of the public and media may listen to these proceedings by
dialing (650) 479−3207 the meeting number, access code, or PIN/ID is 1809883385.
Counsel of record and other essential case participants will receive an email prior to the
start of the video hearing with instructions to join the video conference. Persons granted
remote access to proceedings are reminded of the general prohibition against
photographing, recording, and rebroadcasting of court proceedings. Violation of these
prohibitions may result in sanctions, including removal of court issued media credentials,
restricted entry to future hearings, denial of entry to future hearings, or any other sanctions
deemed necessary by the Court. Mailed notice (cn).




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
